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United States Courts

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UNITED STATES DISTRICT COURT miner istrict of Texas
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SOUTHERN DISTRICT OF TEXAS AUG 05 2000
CORPUS CHRISTI DIVISION David J. Bradley, Clerk of Court

UNITED STATES OF AMERICA

v. CRIMINAL NUMBER C-20-0569 (03)

RAUL BENAVIDES
AKA JOKER

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FACTUAL STATEMENT IN SUPPORT OF PLEA
The United States of America, by and through Ryan K. Patrick, United States Attorney for
the Southern District of Texas, and Michael Hess and Brittany Jensen, Assistant United States
Attomeys, and the defendant, Raul BENAVIDES, and the defendant’s counsel, hereby stipulate

as follows:

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If this case proceeded to trial, the United States of America would prove each element of
the offense of Count One, Racketeer Influenced and Corrupt Organizations Conspiracy, in
violation of Title 18, U.S.C. 1962(d), and Count Two, Conspiracy to Distribute Controlled
Substances, in violation of Title 21, U.S.C. 846, 841(a)(1) and 841(b)(1)(A), beyond a reasonable

doubt. The following facts, among others, would be offered to establish the Defendant’s guilt:

I.
Beginning on or about November 2015, agents with the Drug Enforcement Administration
[DEA] and Texas Department of Public Safety [DPS], along with officers from the Robstown and

Corpus Christi Police Department, began to investigate the actions of the criminal organization
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and racketeering enterprise known as Texas Mexikan Mafia [TMM]. Agents knew then, as they
know now, that TMM is an association-in-fact and, according to its constitution, is a “criminal
organization” that will function in any aspect that will be to the benefit and advancement of TMM.
It states: “We will traffic in illegal drugs, prostitution, contract assassination, robbery of the high
scale, arms and all that we can imagine.” The constitution describes the membership of TMM. The
structure of command begins with the president and vice president, then generals, then captains.
Captains are in charge of particular regions in Texas. Under captains are lieutenants. Lieutenants
are in charge of towns or prison units. Under lieutenants are sergeants. Sergeants are responsible
for maintaining order in their towns, prison units, or meetings, sometimes referred to as “juntas”
or “sessions.” The major part of the membership is made of soldiers. According to the constitution,
cooperating defendants, and wire and electronic intercepts, all TMM members and associates are
responsible for paying a tax, sometimes referred to as “the dime” because it is in theory 10% of
what they make in furtherance of the criminal enterprise. This tax is also referred to as “the rent.”
A certain amount of the tax is transported to TMM leadership in San Antonio, Texas.

An important group that are part of TMM are the “esquina,” or “cora.” The TMM develop
them in their territories. These are TMM sympathizers that also pay the dime to TMM for
protection and assistance.

Agents know that the TMM enterprise is engaged in interstate commerce. Witness
testimony and electronic evidence demonstrates that its members and associates distribute heroin,
methamphetamine, cocaine base, and cocaine. Agents of DEA and/or DPS know that these
narcotics are not produced in wholesale quantities within the state of Texas. Moreover, wire and

electronic intercepts confirm that the narcotics are typically procured from sources in Mexico.
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Agents know that TMM is a highly organized gang with specific rules and regulations.
TMM demands loyalty from its membership and participation in the criminal activities of the gang,
including its primary illegal activity that supports its imprisoned membership — narcotics
trafficking. The power of TMM is utilized to create fear and intimidation that shields members.
Violent retribution is an important activity of the enterprise. Violent retribution helps enforce
loyalty to the organization which is necessary to ensure that the business of the enterprise operates
smoothly.

In December 2015, agents with DEA and DPS assisted Robstown Police Department after
a series of violent assaults involving TMM members and associates occurred over a short time
span. Robstown PD, DEA, and DPS investigated a number of TMM drug premises that were in
operation at that time. One of those premises was located at 814 Gonzales, in Robstown, Texas.
Agents learned that the drug premises was managed by TMM member Raul BENAVIDES, aka
JOKER. Robstown Police Department executed a search warrant at the 814 Gonzales residence in
December 2015. Officers recovered numerous ledgers, pictures of which were sent to the FBI for
an illicit business records analysis. Numerous entries in the ledgers indicate that drugs were sold
on behalf of BENAVIDES. For instance, an entry on December 13, 2015 states, “Lil Rudy dropped
off 50 dimes of hard for Joker.” “Hard” is a street colloquialism for cocaine base. “Dime” is a
street colloquialism for 0.1 gram of narcotics. Records demonstrate activity between December
10, 2015 and December 21, 2015, with money ranging from $17,147 to $19,635 during that
timeframe.

Also around that same time, agents learned that BENAVIDES issued an order at a TMM

meeting at that premises for S.P. to be killed. Cooperating defendants informed agents that S.P.
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stole drugs and money kept at 814 Gonzales. In retaliation for this, BENAVIDES told TMM
members and associates present that S.P. should be “dropped on sight,” i.e. killed.

Raul BENAVIDES managed another TMM drug premises located at 304 Nebraska,
Robstown, Texas. First, on May 30, 2017, Robstown Police Department executed a search warrant
at the 304 Nebraska residence. Officers recovered numerous ledgers, pictures of which were sent
to the FBI for an illicit business records analysis. According to that analysis, the business
distributed a minimum of 3 units in price from approximately $110 to $200 each with a total
value of $12,332. The units were distributed in quantities and prices similar to an “eight ball” (1/8
of an ounce) of cocaine. Numerous entries in the ledgers indicate that drugs were sold on behalf
of BENAVIDES. Entries for BENAVIDES are listed as “J” or “JK” (short for “Joker”). Also, on
May 21, 2018, agents surveilled 304 Nebraska in anticipation of executing another search warrant.
The agents noted activity that was indicative of narcotics deals. About an hour after the last person
left, law enforcement executed the search warrant. The entries into the residence were barricaded.
Law enforcement found BENAVIDES inside the residence. He was the sole occupant. Agents
found nine small clear plastic baggies containing suspected cocaine base on the TV stand. Agents
also found a small amount of marihuana. Agents located two small clear plastic containers with
blue lids. The containers were identified with labels stating “J-B” and “J-H.” Each container had
a note attached to it. One said “B-3” and one “12H.” There was a large clear container with a green
lid that had the letter “J” on it, and a notebook with “3B” and “12H” handwritten in it. There were
other containers with similar distinctive identifiers as well. The house had a security system with
cameras at various locations outside that offered different views around the house. There were

rental receipts for another residence in Robstown — 516 Nebraska. The receipts covered the dates
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of March 2017 through December 2017, and were $500 each. Boxes containing unused small
plastic baggies were recovered as well. Containers full of water were found near the bathroom.
Agents knew from prior experience at other drug premises that the water containers were placed
in the bathroom in order to facilitate the flushing of narcotics in the toilets. The residence had a
mattress laying on the floor in one bedroom, which in the agents’ opinion was indicative of the
premises’ use as a drug house and not a residence.

From November 1, 2015 through December J, 2018, agents uncovered evidence regarding
the poly-drug conspiracy involving TMM members and associates, including BENAVIDES and
the other drug conspirators, through seizures, drug ledgers, grand jury testimony, and intercepted
calls between BENAVIDES and others. FBI analysts examined numerous drug ledgers from drug
premises and other seizures. Cooperating defendants gave information regarding amounts of
narcotics sold. TII wire and electronic intercepts of the cellular telephones of TMM members
revealed narcotic deals, which were then surveilled by law enforcement. During the time frame of
the conspiracy, agents credibly believe that the following amounts of controlled substances were
distributed: 600 grams of cocaine base; 690 grams of cocaine powder, 2.5 kilograms of heroin;
14.1 kilograms of a mixture or substance containing a detectible amount of methamphetamine;

-and 167.6 kilograms of marihuana.

Therefore, as part of this factual basis, defendant Raul BENAVIDES admits and confesses
that from on or about November 1, 2015 to on or about December 1, 2018, he did knowingly and
intentionally conspire with others to conduct and participate in the conduct of the affairs of TMM
through a pattern of racketeering activity consisting of acts indictable as extortion, money

laundering, and narcotics trafficking, and did knowingly and intentionally conspire to possess
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more than | kilogram of heroin, 5 kilograms of cocaine, 280 grams of cocaine base, or 500 grams
of a mixture or substance containing a detectible amount of methamphetamine, with the intent to

distribute it, in the Southern District of Texas.

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RAUL BENAVIDES ta) [pUrmussion Date
Defendant

 

APPROVED:

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